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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PACIFIC WINE DISTRIBUTORS, INC., et              Case No. 20-cv-03131-JSC
                                        al.,
                                   8                   Plaintiffs,                       AMENDED SCHEDULING ORDER
                                   9            v.                                       Re: Dkt. No. 413
                                  10
                                        VITOL INC., et al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           As discussed at the May 11, 2022 case management conference, the Court adopts the

                                  14   parties’ revised case management schedule as follows:

                                  15           Deadline to Complete Party Discovery:                             June 30, 2022

                                  16           Deadline to Complete Third Party Discovery:                       September 14, 2022

                                  17           Class Certification/Supporting Expert Report(s) Due:              October 12, 2022

                                  18           Class Certification Opposition/Supporting Expert Report(s) Due:   January 16, 2023

                                  19           Class Certification Reply Due:                                    March 9, 2023

                                  20           Class Certification Hearing:                                      March 30, 2023 at 9:00

                                  21           The Court sets a further video case management conference for June 23, 2022 at 1:30 p.m.

                                  22   The parties shall submit an updated joint case management conference statement by June 16,

                                  23   2022.

                                  24           IT IS SO ORDERED.

                                  25   Dated: May 11, 2022

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                                                                                                  JACQUELINE SCOTT CORLEY
                                  28                                                              United States District Judge
